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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


  ESTATE OF GEORGE BERNARD              Case No. 4:22-cv-11009
  WORRELL, JR.,
                                        District Judge F. Kay Behm
                Plaintiff,
  v.                                    Magistrate Judge David R. Grand
  THANG, INC., and GEORGE
  CLINTON,

             Defendants.
 _________________________________________________________________/


                             INDEX OF EXHIBITS



       Exhibit A    Gary Cohen Report

       Exhibit B    November 25, 2024 Email

       Exhibit C    December 10, 2024 Email

       Exhibit D    December 16, 2024 Email
